

People v Rodriguez (2022 NY Slip Op 02961)





People v Rodriguez


2022 NY Slip Op 02961


Decided on May 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 03, 2022

Before: Manzanet-Daniels, J.P., Gesmer, Moulton, Mendez, Higgitt, JJ. 


Ind. No. 3828/11 Appeal No. 15866 Case No. 2016-01265 

[*1]The People of the State of New York, Respondent,
vLuis Rodriguez, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Angie Louie of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Reva Grace Phillips of counsel), for respondent.



Order, Supreme Court, Bronx County (Denis J. Boyle, J.), entered on or about November 30, which adjudicated defendant a risk level three predicate sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure to risk level two (see People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant has not shown that his response to sex offender treatment was so exceptional as to warrant a departure, or that his medical condition would reduce his risk of reoffense. The other mitigating factors identified by defendant were either already taken into
account by the risk assessment instrument or outweighed by the seriousness of the offense and defendant's criminal history. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 3, 2022








